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                                                                                    2021 Jul-14 AM 09:12
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA




                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

                                        )
GREGORY MCGUFFIE,                       )
                                        )               CIVIL ACTION
  Plaintiff,                            )
                                        )            NO. ______________
       v.                               )
                                        )        JURY TRIAL DEMANDED
QUALITY COUNTS, INC.,                   )
                                        )                COMPLAINT
  Defendant.                            )
                                        )

                           PRELIMINARY STATEMENT

      1.       This is an action for damages brought by an individual consumer

against Defendant Quality Counts, Inc. (hereafter “Quality Counts” or "Defendant"),

for violations of the Fair Credit Reporting Act (hereafter the “FCRA”), 15 U.S.C. §§

1681 et seq., as amended.

                           JURISDICTION AND VENUE

      2.       Jurisdiction of this Court arises under 15 U.S.C. § 1681p and 28 U.S.C.

§ 1331.

      3.       Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).

                                       PARTIES

      4.       Plaintiff Gregory McGuffie is an adult individual residing in

Tuscaloosa, Alabama.
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      5.      Defendant Quality Counts is a business entity that regularly conducts

business in the Northern District of Alabama, and which has its headquarters and a

principal place of business located at 2616 8th Street, Tuscaloosa, AL 35401.

                           FACTUAL ALLEGATIONS

      6.      In or around August 2020, Plaintiff applied for employment with SMP

Automotive (“SMP”).

      7.      As part of his job application, Plaintiff signed a document purportedly

authorizing SMP to obtain a consumer report for employment purposes.

      8.      SMP contracts with Quality Counts to supply “consumer reports” as

defined by 15 U.S.C. § 1681a(d) for employment purposes.

      9.      The consumer report supplied by Quality Counts contained information

which was a matter of public record and of the type of information that was likely to

have an adverse effect upon Plaintiff’s ability to obtain employment generally, and

specifically with SMP.

      10.     Defendant Quality Counts has been reporting, and did here report,

derogatory and inaccurate statements and information relating to Plaintiff to third

parties (“inaccurate information”).

      11.     The inaccurate information includes, but is not limited to, a felony

conviction for burglary.




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      12.      The inaccurate information grossly disparages the Plaintiff and portrays

him as a felon, which he is not. There is perhaps no greater error that a consumer

reporting agency can make.

      13.      In creating and furnishing the Plaintiff’s consumer report, Defendant

failed to follow reasonable procedures to assure the maximum possible accuracy of

the information it reported about the Plaintiff.

      14.      In fact, Defendant failed to conduct even a rudimentary review of the

underlying records which would have revealed that Plaintiff has no felony

convictions.

      15.      Defendant sold SMP a consumer report that contained the inaccurate

information.

      16.      Plaintiff was subsequently denied employment at SMP, and Plaintiff

was informed by SMP that the basis for this denial was the inclusion of the inaccurate

criminal information on Defendant Quality Counts’ consumer report and was in fact

a substantial factor for the denial.

      17.      As of result of Defendant’s conduct, Plaintiff has suffered actual

damages in the form of lost employment opportunities, harm to reputation, and

emotional distress, including humiliation and embarrassment.

      18.      At all times pertinent hereto, Defendant was acting by and through its

agents, servants and/or employees who were acting within the course and scope of


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their agency or employment, and under the direct supervision and control of the

Defendant herein.

      19.    At all times pertinent hereto, the conduct of the Defendant, as well as

that of its agents, servants and/or employees, was intentional, willful, reckless, and

in grossly negligent disregard for federal law and the rights of the Plaintiff herein.

                    COUNT I – VIOLATIONS OF THE FCRA

      20.    Plaintiff incorporates the foregoing paragraphs as though the same were

set forth at length herein.

      21.    At all times pertinent hereto, Defendant is a “person” and a “consumer

reporting agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).

      22.    At all times pertinent hereto, Plaintiff was a “consumer” as that term is

defined by 15 U.S.C. § 1681a(c).

      23.    At all times pertinent hereto, the above-mentioned background reports

were “consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).

      24.    Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 1681o, Defendant is

liable to the Plaintiff for willfully and negligently failing to comply with the

requirements imposed on a consumer reporting agency of information pursuant to

15 U.S.C. § 1681e(b).

      25.    The conduct of Defendant was a direct and proximate cause, as well as

a substantial factor, in bringing about the serious injuries, actual damages and harm


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to the Plaintiff that are outlined more fully above and, as a result, Defendant is liable

to the Plaintiff for the full amount of statutory, actual and punitive damages, along

with the attorney’s fees and the costs of litigation, as well as such further relief, as

may be permitted by law.

                              JURY TRIAL DEMAND

       26.   Plaintiff demands trial by jury on all issues so triable.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff seeks judgment in his favor and damages against

Defendant, based on the following requested relief:

             (a)    Actual damages;

             (b)    Statutory damages;

             (c)    Punitive damages;

             (d)    Costs and reasonable attorney’s fees; and

             (e)    Such other and further relief as may be necessary, just and

                    proper.

                                         Respectfully Submitted,

                                         /s/ Micah S. Adkins
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